                                  Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 1 of 74




                               1 MICHAEL A. KELLY, State Bar No. 71460
                                  MKelly@WalkupLawOffice.com
                               2 RICHARD H. SCHOENBERGER, State Bar No. 122190
                                  RSchoenberger@WalkupLawOffice.com
                               3 MATTHEW D. DAVIS, State Bar No. 141986
                                  MDavis@WalkupLawOffice.com
                               4 WALKUP, MELODIA, KELLY & SCHOENBERGER
                                 650 California Street
                               5 San Francisco, CA 94108
                                 Telephone: 415-889-2919
                               6 Facsimile: 415-391-6965

                           7 ALAN A. GREENBERG, State Bar No. 150827
                              AGreenberg@GGTrialLaw.com
                           8 WAYNE R. GROSS, State Bar No. 138828
                              WGross@GGTrialLaw.com
                           9 DEBORAH S. MALLGRAVE, State Bar No. 198603
                              DMallgrave@GGTrialLaw.com
                          10 GREENBERG GROSS LLP
                             601 South Figueroa Street, 30th Floor
                          11 Los Angeles, CA 90017
                             Telephone: 213-334-7000
                          12 Facsimile: 213-334-7001
                          13 _______________________
                             SHANIN SPECTER, Pennsylvania State Bar No. 40928
                          14 shanin.specter@klinespecter.com
                             PHILIP M. PASQUARELLO
                          15 philip.pasquarello@klinespecter.com
                             KLINE & SPECTER, P.C.
                          16 1525 Locust Street
                             Philadelphia, PA 19102
                          17 Telephone: 215-772-1000
                             Pro Hoc Vice
                          18
                          19 Attorneys for All Plaintiffs

                          20 JOHN K. DIPAOLO, State Bar No. 321942
                              dipaolojohn@uchastings.edu
                          21 General Counsel
                             Secretary to the Board of Directors
                          22 Hastings College of the Law
                             200 McAllister Street
                          23 San Francisco, CA 94102
                             Telephone: 415-565-4787
                          24 Facsimile: 415-565-4825

                          25 Attorney for Plaintiff
                             COLLEGE OF THE LAW, SAN FRANCISCO
                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                        1
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                             DECLARATION OF LINDON LILLY - CASE NO. 4:20-cv-03033-JST
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                    Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 2 of 74




                               1
                                                        UNITED STATES DISTRICT COURT
                               2
                                                      NORTHERN DISTRICT OF CALIFORNIA
                               3

                               4
                                   COLLEGE OF THE LAW, SAN                    Case No. 4:20-cv-03033-JST
                               5     FRANCISCO a public trust and
                                     institution of higher education          DECLARATION LINDON LILLY
                               6     duly organized under the laws
                                     and the Constitution of the
                               7     State of California;                     ASSIGNED FOR ALL PURPOSES
                                   FALLON VICTORIA, an                        TO THE HONORABLE JON S.
                               8     individual;                              TIGAR
                                   RENE DENIS, an individual;
                               9   TENDERLOIN MERCHANTS                       Trial Date:       (None set yet)
                                     AND PROPERTY
                          10         ASSOCIATION, a business
                                     association;
                          11       RANDY HUGHES, an individual;
                                     and
                          12       KRISTEN VILLALOBOS, an
                                     individual,
                          13
                                                        Plaintiffs,
                          14
                                        v.
                          15
                                   CITY AND COUNTY OF SAN
                          16         FRANCISCO, a municipal
                                     entity,
                          17
                                                        Defendant.
                          18
                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                          2
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                               DECLARATION OF LINDON LILLY - CASE NO. 4:20-cv-03033-JST
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 3 of 74




                               1                          DECLARATION OF LINDON LILLY

                               2        I, Lindon Lilly, declare as follows:

                               3        1.     I have personal knowledge of the facts set forth herein. If called as a

                               4 witness, I could and would competently testify to the matters stated herein. I make

                               5 this declaration based in support of plaintiffs’ motion to enforce the stipulated

                               6 injunction.

                               7        2.     I am a private investigator licensed by the State of California Bureau of

                               8 Security and Investigative Services. My BSIS license number is 188947. I am the

                               9 Founder and Chief Executive Officer of Rhino Investigation and Rhino Processing

                          10 Services. I am a two-term governor of the California Association of Licensed

                          11 Investigators (CALI), which has 50 investigators in the San Francisco chapter and

                          12 over 2,000 members statewide. I am a retired correctional sergeant with 20 years of

                          13 experience working in the California Department of Corrections and Rehabilitation.

                          14            3.     I am 57 years old. I am a San Francisco native, and I am familiar with

                          15 the Tenderloin District.

                          16            4.     I understand that the Tenderloin District is a 50-city block

                          17 neighborhood that is bordered on the west by Van Ness Avenue, on the north by Post

                          18 Street, and on the east by Mason Street. On the south side, the Tenderloin District is

                          19 bordered partially by Market Street and partially by McAllister Street.

                          20            5.     My assignment in this matter was to canvass the streets and alleys of

                          21 the Tenderloin District and to photo-document: (1) instances of tents, encampments,

                          22 or similar blockages of the sidewalks; and (2) evidence of what appeared to be illicit

                          23 drug use, drug sales or public intoxication, based on my training, experience and

                          24 background.

                          25            6.     The photographs contained in this declaration all fairly depict what I

                          26 saw. All the photographs show what was in the public view. I was nevertheless
                          27 discreet in taking the photographs out of respect for the persons being photographed

                          28 and being mindful of the risks associated with photographing people who appeared to
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                               1
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 4 of 74




                               1 be engaged in criminal activity. The faces of people depicted in the photographs

                               2 contained in this declaration have been blurred.

                               3        7.     The following photographs fairly and accurately depict instances that I

                               4 personally observed of tents, encampments, or similar blockages of the public

                               5 sidewalks in the Tenderloin:

                               6               a.    The photograph below, labeled Photograph 1, was taken on June

                               7 21, 2023 at approximately 5:16 p.m. It shows part the east sidewalk of Van Ness

                               8 Avenue near Elm Street. This photo shows a makeshift encampment made up of a

                               9 recycling bin, a garbage bin, boxes, and other materials. Garbage was strewn all

                          10 about. I observed two individuals sheltering inside this encampment.

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                        Photograph 1
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                             2
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 5 of 74




                               1                     i.      The photograph below, labeled Photograph 1(a), was taken

                               2 on June 22, 2023 at approximately 7:07 a.m. This photo shows the inside of the

                               3 makeshift encampment shown in Photograph 1. In the foreground, a person is

                               4 sleeping on some pillows with various personal items strewn on cardboard. Another

                               5 person is also sleeping on the other side of the encampment. Between the two of

                               6 them, there appears to be drug paraphernalia. This photo was taken at the same

                               7 location as Photograph 1.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25                                           Photograph 1(a)

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             3
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 6 of 74




                               1              b.     The photograph below, labeled Photograph 2, was taken on June

                               2 21, 2023, at approximately 5:17 p.m. This photo shows a line of nine tents and

                               3 encampments on the north side of Redwood Street between Van Ness Avenue and

                               4 Polk Street. The sidewalk is completely impassable because of these tents and

                               5 encampments:

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23
                                                                       Photograph 2
                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            4
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 7 of 74




                               1              c.     The photograph below, labeled Photograph 3, was taken on June

                               2 21, 2023 at approximately 5:19 p.m. This photo shows a closer shot of the tents and

                               3 encampments on Redwood Street shown in Photograph 2:

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22
                                                                       Photograph 3
                          23

                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            5
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 8 of 74




                               1                    i.     The photograph below, labeled Photograph 3(a), was taken

                               2 on June 24, 2023 at approximately 7:48 a.m. and shows the same general location as

                               3 Photograph 3.

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                      Photograph 3(a)
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            6
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 9 of 74




                               1                 d.    The photograph below, labeled Photograph 4, was taken on June

                               2 21, 2023 at approximately 5:19 p.m. and shows the north sidewalk of Willow Street

                               3 between Van Ness Avenue and Polk Street. This person in the foreground sits on the

                               4 sidewalk next to a garbage bag and a large concrete divider and appears to be using

                               5 illegal narcotics. He completely blocks the sidewalk. Further down the street, the

                               6 sidewalk is blocked completely by tents and encampments set up next to the concrete

                               7 dividers. The people sitting on the dividers appeared to be engaged in illicit drug

                               8 activities.

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              7
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                               LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 10 of 74




                               1

                               2              e.     The photograph below, labeled Photograph 5, was taken on June

                               3 21, 2023, at approximately 5:21 p.m. This photo shows a large blue tent on the

                               4 sidewalk on Polk Street near the corner of Willow Street:

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20                                           Photograph 4

                          21

                          22

                          23                                           Photograph 5

                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            8
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 11 of 74




                               1               f.    The photograph below, labeled Photograph 6, was taken on June

                               2 21, 2023 at approximately 5:28 p.m. This photo shows two tents and a woman

                               3 peeking into the tent on the right side. A man with a beige hat appears to be waiting

                               4 for the woman to retrieve something from the tent. He is standing near a black bike.

                               5 These tents are located on the south side of the sidewalk on the 700 block of Eddy

                               6 Street:

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25                                        Photograph 6
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             9
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 12 of 74




                               1               g.    The photograph below, labeled Photograph 7, was taken on June

                               2 21, 2023 at approximately 5:38 p.m. on Myrtle Street between Polk and Larkin

                               3 Streets. This photo shows a green tarp covering a shopping cart between two large

                               4 pillars on the north side of Myrtle. Another blue tarp covers what looks like trash

                               5 bags to the far left. Further down Myrtle there are three tents. The sidewalk is

                               6 impassable.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                            Photograph 7

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            10
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 13 of 74




                               1               h.    The photograph below, labeled Photograph 8, was taken on June

                               2 21, 2023 at approximately 5:16 p.m. and shows the north sidewalk of Myrtle Street

                               3 between Larkin and Polk Streets. (It is viewing the same area as Photograph 8 but

                               4 from the other end of the street. This photo shows five tents completely obstructing

                               5 the sidewalk. A man leaning on a bike appears to be looking inside the tent at the

                               6 end of this row. Trash was also littered around the tents. Street. The sidewalk was

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 8

                          27

                          28 impassable.
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           11
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 14 of 74




                               1

                               2               i.    The photograph below, labeled Photograph 9, was taken on June

                               3 21, 2023 at approximately 5:39 p.m. This shows the south sidewalk of Myrtle Street

                               4 between Polk Street and Larkin Street This photo shows a large box with a tarp over

                               5 it which appeared to be storage or a makeshift living space or both. There is luggage

                               6 next to the blue tarp and a man standing beside a roller bag and a blue tent. The

                               7 sidewalk is impassable.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 9

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           12
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 15 of 74




                               1               j.     The photograph below, labeled Photograph 10, was taken on June

                               2 21, 2023 at approximately 5:42 p.m. This photo shows a couch with bedding. In front

                               3 of the couch is a rug extending to the end of the sidewalk and a chair next to the

                               4 couch. There is also a crate that appears to have trash inside of it. To the right of the

                               5 couch, there is also a machine that looks like an air purifier. This photo was taken on

                               6 the north sidewalk of Cedar Street between Polk Street and Larkin Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                            Photograph 10

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             13
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 16 of 74




                               1               k.    The photograph below, labeled Photograph 11, was taken on June

                               2 21, 2023 at approximately 5:42 p.m. This photo shows a green tent blocking the

                               3 sidewalk. Further down, there is quite a bit of trash and large metal barrels. This

                               4 was taken on the north side of Cedar Street between Polk Street and Larkin Street.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 11

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            14
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 17 of 74




                               1               l.    The photograph below, labeled Photograph 12, was taken on June

                               2 22, 2023 at approximately 6:31 p.m. This photo shows a black tent blocking part of

                               3 the sidewalk. There is a leg sticking out of the tent. There appears to be a broken

                               4 chair and bike beside the tent and trash. This photo was taken on the west sidewalk

                               5 of Leavenworth Street between Golden Gate Avenue and Turk Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 12

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            15
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 18 of 74




                               1              m.     The photograph below, labeled Photograph 13, was taken on June

                               2 22, 2023 at approximately 6:37 p.m. The photograph shows a green tent and some

                               3 cardboard boxes strewn around. This was taken on the west sidewalk of Jones Street

                               4 between Ellis Street and O’Farrell Street.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                      Photograph 13
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           16
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 19 of 74




                               1               n.     The photograph below, labeled Photograph 14, was taken on June

                               2 22, 2023 at approximately 6:40 p.m. This photograph shows a blue and green tent

                               3 with a hand truck next to it. To the tent’s left, another makeshift area is covered by a

                               4 green tarp with a chair and bike underneath. The tents are on the east sidewalk of

                               5 Jones Street between Ellis and Eddy Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                        Photograph 14
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             17
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 20 of 74




                               1               o.    The photograph below, labeled Photograph 15, was taken on June

                               2 22, 2023 at approximately 6:38 p.m. This photograph shows a person sleeping on a

                               3 mattress on the sidewalk as another person walks by. There is bedding, a blanket,

                               4 pillows, and some clothes visible on the mattress. A bottle of some dark liquid is also

                               5 on the sidewalk near the mattress. This photograph was taken on the northeast

                               6 corner of Ellis Street and Leavenworth Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 15

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             18
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 21 of 74




                               1

                               2               p.    The photograph below, labeled Photograph 16, was taken on June

                               3 22, 2023 at approximately 6:40 p.m. This photo shows a makeshift encampment with

                               4 a blue tarp that occupies both the sidewalk and part of the street. There are also

                               5 various pieces of furniture blocking the sidewalk behind the encampment. There

                               6 appear to be trash bags behind the encampment as well. This was taken on Jones

                               7 Street, and the encampment is on the east sidewalk of Jones Street between Ellis

                               8 Street and Eddy Street.

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 16

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            19
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 22 of 74




                               1              q.     The photograph below, labeled Photograph 17, was taken on June

                               2 22, 2023 at approximately 6:41 p.m. This photo shows a person sleeping on the

                               3 sidewalk with some bedding and clothes around him. This was taken on the

                               4 northwest corner of the intersection of Jones Street and Eddy Street, across from the

                               5 San Francisco Police Department’s Tenderloin substation.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                       Photograph 17
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            20
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 23 of 74




                               1               r.    The photograph below, labeled Photograph 18, was taken on June

                               2 22, 2023 at approximately 6:41 p.m. This photo shows a large blue tent with a

                               3 stroller next to it outside a business called Yemen Kitchen and Hung Phat Bakery &

                               4 Coffee. A man is hunched over at the entrance to the tent. In front of him, a large

                               5 amount of trash is covering the sidewalk. To the left of the tent is a tarp hanging on

                               6 window bars that appears to be an encampment. This photo was taken on the east

                               7 sidewalk of Jones Street between Eddy Street and Turk Street.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                            Photograph 18
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             21
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 24 of 74




                               1              s.     The photograph below, labeled Photograph 19, was taken on June

                               2 22, 2023 at approximately 6:59 p.m. This photo shows a makeshift encampment

                               3 constructed of garbage cans and a metal divider. Cardboard and a piece of cloth

                               4 obscure the inside of the encampment. This photo was taken on the south sidewalk of

                               5 Elm Street between Polk Street and Van Ness Avenue.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24
                                                                      Photograph 19
                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           22
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 25 of 74




                               1              t.    The photograph below, labeled Photograph 20, was taken on June

                               2 22, 2023 at approximately 7:00 p.m. This photo shows an encampment with a tarp

                               3 blowing in a strong wind. This photograph was taken in front of Tenderloin

                               4 Community Elementary School at the entrance on the north side of Elm Street

                               5 between Polk Street and Van Ness Avenue.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                      Photograph 19
                          27                                          Photograph 20

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           23
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 26 of 74




                               1              u.    The photograph below, labeled Photograph 21, was taken on June

                               2 22, 2023 at approximately 6:59 p.m. This photo shows a smaller, makeshift

                               3 encampment of two garbage cans and a large cloth. This photo was taken on the

                               4 north sidewalk of Elm Street between Polk Street and Van Ness Avenue.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                          Photograph 21

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           24
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 27 of 74




                               1              v.    The photograph below, labeled Photograph 22, was taken on June

                               2 22, 2023 at approximately 2:43 p.m. This photo shows a person sleeping on a

                               3 mattress on the sidewalk. There also appear to be some personal items on the couch

                               4 with him. This photo was taken on the north sidewalk of O’Farrell Street between

                               5 Jones and Taylor Streets, where the sidewalk narrows because of a large wooden

                               6 structure coming out from a building.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                      Photograph 22
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           25
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 28 of 74




                               1               w.    The photograph below, labeled Photograph 23, was taken on June

                               2 22, 2023 at approximately 2:49 p.m. This photograph shows a large blue tarp

                               3 covering a tent-like structure that primarily blocks the sidewalk. It appears people

                               4 on foot can get through to the other side. This photo was taken on the south sidewalk

                               5 of Ellis Street between Jones Street and Taylor Street while walking east towards

                               6 Taylor Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 23

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            26
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 29 of 74




                               1              x.     The photograph below, labeled Photograph 24, was taken on June

                               2 24, 2023 at approximately 7:36 a.m. This photo shows two tents outside the sidewalk

                               3 that mostly obstruct the walkway. There appears to be a trashcan full of items

                               4 between the two of them. This photo was taken on the west sidewalk of Leavenworth

                               5 Street between Ellis Street and Eddy Street while walking south on Leavenworth

                               6 Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                          Photograph 24

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           27
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 30 of 74




                               1               y.    The photograph below, labeled Photograph 25, was taken on June

                               2 24, 2023 at approximately 7:39 a.m. This photo shows a tent and automobile seat on

                               3 the sidewalk in front of an art gallery called Modernism. This tent is located on the

                               4 north sidewalk of Ellis Street between Polk Street and Larkin Street.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25                                           Photograph 25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            28
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 31 of 74




                               1               z.    The photograph below, labeled Photograph 26, was taken on June

                               2 24, 2023 at approximately 7:40 a.m. This photo shows encampments completely

                               3 obstructing the sidewalk. Debris and trash litter the ground and the street. There is

                               4 a person passed out on a sofa. This photo was taken on the north sidewalk of Ellis

                               5 Street between Polk and Larkin Streets.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 26

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            29
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 32 of 74




                               1              aa.    The photograph below, labeled Photograph 27, was taken on June

                               2 24, 2023 at approximately 7:40 a.m. This photo shows a tent on the north sidewalk of

                               3 Ellis Street between Polk Street and Larkin Street.

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24                                          Photograph 27

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           30
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 33 of 74




                               1               bb.    The photograph below, labeled Photograph 28, was taken on June

                               2 24, 2023 at approximately 7:52 a.m. This photo shows two green structures tied to a

                               3 road sign. There are two suitcases outside the structure as well. This photograph was

                               4 taken on the north sidewalk of Myrtle Street between Van Ness Avenue and Polk

                               5 Street. Specifically, the tents are on the northeast corner of the intersection of Myrtle

                               6 Street and Polk Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                        Photograph 28
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             31
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 34 of 74




                               1              cc.   The photograph below, labeled Photograph 29, was taken on June

                               2 24, 2023 at approximately 7:52 a.m. This photo shows two blue tents along the north

                               3 sidewalk of Myrtle Street between Polk Street and Larkin Street.

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23
                                                                      Photograph 29
                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           32
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 35 of 74




                               1               dd.   The photograph below, labeled Photograph 30, was taken on June

                               2 24, 2023 at approximately 7:53 a.m. This photo shows one orange tent completely

                               3 obstructing the sidewalk. There is also a wheelbarrow with a black plastic bag in

                               4 front of the tent. This photo was taken on the north sidewalk of Myrtle Street

                               5 between Polk Street and Larkin Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 30

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            33
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 36 of 74




                               1              ee.   The photograph below, labeled Photograph 31, was taken on June

                               2 24, 2023 at approximately 7:59 a.m. This photo shows a person sleeping on a bare

                               3 mattress on the sidewalk. There is some bedding on the mattress as well as some

                               4 trash around the mattress. This photo was taken on the south sidewalk of O’Farrell

                               5 Street between Leavenworth Street and Jones Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                      Photograph 31
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           34
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 37 of 74




                               1              ff.    The photograph below, labeled Photograph 32, was taken on June

                               2 24, 2023 at approximately 8:04 a.m. This photo shows one flipped-over tent blocking

                               3 the ramp onto the sidewalk and a grey tent with red trimming. A chair is outside the

                               4 grey tent, and there appears to be no way through the sidewalk without walking

                               5 between the two tents. This photo was taken on the northeast corner of the

                               6 intersection between Eddy Street and Taylor Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                      Photograph 32
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           35
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 38 of 74




                               1               gg.    The photograph below, labeled Photograph 33, was taken on June

                               2 24, 2023 at approximately 8:05 a.m. This photo shows a collapsed grey tent with

                               3 various pieces of the tent sprawled out to the left. There is also an upside-down pink

                               4 bike and a suitcase to the left of the tent. This tent is located on the east sidewalk of

                               5 Taylor Street between Ellis Street and Eddy Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                             Photograph 33

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              36
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 39 of 74




                               1        8.     The following photographs fairly and accurately depict instances of what

                               2 appeared to be illicit drug use, drug sales, or public intoxication, based on my

                               3 training, experience, and background:

                               4               a.     The photograph below, labeled Photograph 34, was taken on June

                               5 21, 2023, at approximately 5:15 p.m. It depicts the same general encampment area as

                               6 in Photograph 1, supra, and also shows about six individuals who appeared to be

                               7 associated with the encampment and/or were involved in the use or sale of illegal

                               8 narcotics. The encampment and associated debris made it physically difficult for

                               9 pedestrians to pass the area on the sidewalk. Anyone who did walk by this

                          10 encampment would have good cause to feel intimidated and unsafe. I note that an

                          11 elementary school is a short distance from this site.

                          12 / / /

                          13 / / /

                          14 / / /

                          15 / / /

                          16 / / /

                          17 / / /

                          18 / / /

                          19 / / /

                          20 / / /

                          21 / / /

                          22 / / /

                          23 / / /

                          24 / / /

                          25 / / /

                          26 / / /
                          27 / / /

                          28 / / /
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            37
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 40 of 74




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23
                                                                     Photograph 34
                          24

                          25

                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                          38
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                           LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 41 of 74




                               1               b.    The photograph below, labeled Photograph 35, was taken on June

                               2 21, 2023, at approximately 5:14 p.m. This photo shows two people, one slumped over

                               3 in a wheelchair and the other sitting on the ground. The individual in a wheelchair is

                               4 inhaling from a pipe and heating drugs on a piece of foil. The second individual is

                               5 assisting the individual smoking the pipe by using their hand to block the wind.

                               6 These two individuals appear to be using illegal narcotics. This photo was taken on

                               7 the south sidewalk of Elm Street between Van Ness Avenue and Polk Street. This

                               8 location is right across the street from the Tenderloin Community Elementary

                               9 School.

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                       Photograph 35
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            39
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 42 of 74




                               1               c.     The photograph below, labeled Photograph 36, was taken on June

                               2 21, 2023, at approximately 5:16 p.m. Based on my experience and belief, this person

                               3 is using illegal narcotics on the sidewalk. He has a listless stare and is not moving

                               4 around. This photo was taken on the west sidewalk of Van Ness Avenue between

                               5 Eddy Street and Turk Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 36

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             40
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 43 of 74




                               1               d.     The photograph below, labeled Photograph 37, was taken on June

                               2 21, 2023, at approximately 5:21 p.m. This photo shows a person injecting illegal

                               3 narcotics into their arm on the sidewalk with a makeshift tourniquet tied at their

                               4 elbow. The individual injecting drugs appears to be holding a pipe. There also

                               5 appears to be a needle on the ground at his leg. The individual to the left looks to be

                               6 holding a lighter as well. This photo was taken on the north sidewalk of Willow

                               7 Street between Van Ness Avenue and Polk Street.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 37

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             41
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 44 of 74




                               1               e.    The photograph below, labeled Photograph 38, was taken on June

                               2 21, 2023, at approximately 5:23 p.m. This photo depicts seven individuals, all of

                               3 whom I believe were engaged in the illegal use of narcotics. The third individual from

                               4 the right has his hands clasped together and is holding something to his mouth,

                               5 which I believe to be a pipe. This photo was taken on the south sidewalk of Eddy

                               6 Street between Van Ness Avenue and Polk Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 38

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            42
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 45 of 74




                               1               f.    The photograph below, labeled Photograph 39, was taken on June

                               2 21, 2023, at approximately 5:26 p.m. This photo shows a woman smoking something

                               3 out of a pipe which I believe to be illegal narcotics. This photo was taken at the same

                               4 location as Photograph 37.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                        Photograph 39
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             43
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 46 of 74




                               1               g.    The photograph below, labeled Photograph 40, was taken on June

                               2 21, 2023, at approximately 5:28 p.m. This photo shows four individuals, two smoking

                               3 a substance from a foil holder or pipe. I believe these individuals to be smoking

                               4 illegal narcotics. This photo was taken on the north sidewalk of Eddy Street between

                               5 Van Ness Avenue and Polk Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 40
                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            44
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 47 of 74




                               1               h.     The photograph below, labeled Photograph 41, was taken on June

                               2 21, 2023, at approximately 5:30 p.m. This photograph shows an individual on an

                               3 electric scooter who I believe is a dealer of illegal narcotics. Behind him is a man in

                               4 all black who appears to be unconscious, holding something in his hand that looks

                               5 like foil used to melt down illegal narcotics. This photograph was taken at the

                               6 northwest corner of Eddy Street and Polk Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                            Photograph 41
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             45
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 48 of 74




                               1               i.     The photograph below, labeled Photograph 42, was taken on June

                               2 21, 2023, at approximately 5:33 p.m. This photo shows multiple people waiting on the

                               3 sidewalk, some sitting down. One of the individuals sitting down is holding

                               4 something up to their face. I believe that the individual is using illegal narcotics.

                               5 This photo was taken on the south sidewalk of Olive Street between Polk Street and

                               6 Larkin Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                         Photograph 42
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                              46
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 49 of 74




                               1               j.     The photograph below, labeled Photograph 43, was taken on June

                               2 21, 2023, at approximately 5:26 p.m. This photo shows individuals I believe to be

                               3 engaged in selling illegal narcotics. The individual in the white hooded sweatshirt

                               4 appears to be handing something to the man in the wheelchair. The individual in the

                               5 red hooded sweatshirt seems to be holding drug paraphernalia. This photo was taken

                               6 on the north sidewalk of Eddy Street between Van Ness Avenue and Polk Street.

                               7 This location is in front of the City College of San Francisco.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27

                          28                                            Photograph 43
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             47
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 50 of 74




                               1                k.    The photograph below, labeled Photograph 44, was taken on June

                               2 21, 2023, at approximately 5:26 p.m. This photo shows an individual convulsing

                               3 while standing up. They are hunched over and appear to be under the influence of

                               4 illegal narcotics. The individual in all-black clothing to the standing person's left is

                               5 also hunched over. I believe this individual is also under the influence of illegal

                               6 narcotics. This photo was taken on the north sidewalk of Eddy Street between Van

                               7 Ness Avenue and Polk Street. This location is in front of the City College of San

                               8 Francisco.

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                             Photograph 44

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              48
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                              LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 51 of 74




                               1               l.     The photograph below, labeled Photograph 45, was taken on June

                               2 21, 2023, at approximately 5:36 p.m. This photo shows two individuals to the very

                               3 right of the photo engaged in using illegal drugs. One individual has a piece of foil I

                               4 believe they are using to melt down illegal drugs. This photo was taken on the north

                               5 side of Myrtle Street between Polk Street and Larkin Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 45

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             49
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 52 of 74




                               1               m.    The photograph below, labeled Photograph 46, was taken on June

                               2 21, 2023, at approximately 5:41 p.m. This photo shows two individuals I believe to be

                               3 using illegal narcotics. This photo was taken at the northeast corner of Geary Street

                               4 and Polk Street.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 46

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            50
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 53 of 74




                               1               n.     The photograph below, labeled Photograph 47, was taken on June

                               2 22, 2023, at approximately 6:29 a.m. This photo shows an individual hunched over

                               3 his hands. I believe this individual is smoking illegal narcotics and that he is holding

                               4 a piece of tin foil used for the melting and smoking of illegal narcotics. This photo

                               5 was taken on Golden Gate Avenue near UC Law SF.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                        Photograph 47
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             51
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 54 of 74




                               1               o.     The photograph below, labeled Photograph 48, was taken on June

                               2 22, 2023, at approximately 6:45 a.m. This photo shows two individuals. The

                               3 individual in the pink shirt is knelt on the sidewalk next to a bottle of what appear to

                               4 be prescription pills. The individual with the ripped blue jeans is hunched over and is

                               5 carrying a bag. Based on my experience, I believe these two individuals are under the

                               6 influence of illegal narcotics. This photo was taken on the north sidewalk of Turk

                               7 Street between Leavenworth Street and Jones Street.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 48

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             52
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 55 of 74




                               1               p.    The photograph below, labeled Photograph 49, was taken on June

                               2 22, 2023, at approximately 6:48 a.m. This photo shows a man with a large blue

                               3 blanket covering his body. He appears to be holding a beverage in his hands. Based

                               4 on my experience and the way he is hunched over, I believe this man to be under the

                               5 influence of illegal narcotics. This photo was taken on the north sidewalk of Turk

                               6 Street between Larkin Street and Hyde Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                       Photograph 49
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            53
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 56 of 74




                               1               q.    The photograph below, labeled Photograph 50, was taken on June

                               2 22, 2023, at approximately 6:47 a.m. This photo shows an individual in a wheelchair

                               3 holding something up to his face. Based on my experience, I believe that this

                               4 individual is actively using illegal narcotics. This photo was taken on the south

                               5 sidewalk of Turk Street between Larkin Street and Hyde Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 50

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            54
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 57 of 74




                               1               r.    The photograph below, labeled Photograph 51, was taken on June

                               2 22, 2023, at approximately 6:49 a.m. This photo shows two individuals standing near

                               3 the entrance to the Phoenix Hotel. Based on my experience, I believe that these

                               4 individuals are engaged in the sale of illegal narcotics. This photo was taken on the

                               5 south sidewalk of Eddy Street between Larkin Street and Hyde Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                       Photograph 51
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            55
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 58 of 74




                               1               s.    The photograph below, labeled Photograph 52, was taken on June

                               2 22, 2023, at approximately 6:47 a.m. This photo shows an individual hunched over

                               3 and leaning against the wall of a bus stop. His hand is near his mouth like he is

                               4 coughing into it. Based on my experience, I believe this individual is under the

                               5 influence of illegal narcotics. This photo was taken on the north sidewalk of Turk

                               6 Street between Larkin Street and High Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 52

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            56
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 59 of 74




                               1               t.     The photograph below, labeled Photograph 53, was taken on June

                               2 22, 2023, at approximately 6:54 a.m. This photo shows an individual sitting on the

                               3 sidewalk with drug paraphernalia in his hands. He has a lighter in his right hand,

                               4 which he is holding underneath a piece of metal foil. He also has something in his

                               5 mouth. I believe this individual is actively using illegal narcotics. This photo was

                               6 taken at the intersection of Eddy Street and Larkin Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                        Photograph 53
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             57
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 60 of 74




                               1               u.    The photograph below, labeled Photograph 54, was taken on June

                               2 22, 2023, at approximately 6:57 a.m. This photo shows an individual leaning on a

                               3 baby stroller on the right. There are two individuals to the left, one of which appears

                               4 to be a law enforcement officer. Based on my experience, I believe this individual is

                               5 under the influence of illegal narcotics. This photo was taken on the south sidewalk

                               6 of Redwood Street between Van Ness Avenue and Polk Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 54

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             58
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 61 of 74




                               1                     i.    The photograph below, labeled Photograph 54(a), was

                               2 taken on June 22, 2023, at approximately 6:57 a.m. This photo shows the same

                               3 individual as before now collapsed on the sidewalk. There also appears to be drug

                               4 paraphernalia left on top of the baby stroller. This photo was taken at the same

                               5 location as Photograph 53.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                                                                      Photograph 54(a)
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            59
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 62 of 74




                               1              v.     The photograph below, labeled Photograph 55, was taken on June

                               2 22, 2023, at approximately 7:15 a.m. This photo shows an individual in a gray hooded

                               3 sweatshirt holding something to his face. Based on my experience, I believe this

                               4 person is using illegal narcotics. This photo was taken on the south sidewalk of Eddy

                               5 Street between Van Ness Avenue and Polk Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 55

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            60
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 63 of 74




                               1               w.    The photograph below, labeled Photograph 56, was taken on June

                               2 22, 2023, at approximately 7:48 a.m. This photo shows two individuals, one on an

                               3 electric scooter and the other pointing toward something. The pointing individual

                               4 appears to have a needle in her left hand. Based on my experience, I believe these

                               5 two individuals are engaged in the sale and/or use of illegal narcotics. This photo was

                               6 taken on the north sidewalk of Eddy Street between Van Ness Avenue and Polk

                               7 Street.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                       Photograph 56
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                            61
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 64 of 74




                               1               x.     The photograph below, labeled Photograph 57, was taken on June

                               2 22, 2023, at approximately 12:35 p.m. This photo shows five individuals. The person

                               3 with the blonde hair appears to be hunched over. Based on my experience, I believe

                               4 the individual to the far left, the one wearing a black shirt to the left of the telephone

                               5 pole, and the person with blond hair are all under the influence of illegal narcotics.

                               6 This photo was taken on the east sidewalk of Polk Street between Ellis Street and

                               7 Willow Street in front of the San Francisco Community Health Center.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                             Photograph 57

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              62
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                             LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 65 of 74




                               1               y.    The photograph below, labeled Photograph 58, was taken on June

                               2 22, 2023, at approximately 12:38 p.m. This photo shows two individuals lying down

                               3 on the sidewalk in the middle of the walkway. Both individuals appear to be

                               4 unconscious and, based on my experience, under the influence of illegal narcotics.

                               5 This photo was taken on the west sidewalk of Polk Street between Redwood Street

                               6 and McAllister Street. This sidewalk runs alongside the San Francisco Superior

                               7 Courthouse.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27

                          28                                           Photograph 58
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            63
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 66 of 74




                               1               z.    The photograph below, labeled Photograph 59, was taken on June

                               2 22, 2023, at approximately 2:40 p.m. This photo shows four individuals at a bus stop.

                               3 Based on my experience and knowledge, I believe these individuals are engaged in

                               4 selling illegal narcotics. This photo was taken at the O’Farrell Towers on the south

                               5 sidewalk of O’Farrell Street.

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25
                                                                       Photograph 59
                          26
                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            64
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 67 of 74




                               1               aa.   The photograph below, labeled Photograph 60, was taken on June

                               2 22, 2023, at approximately 2:40 p.m. This photo shows an individual sitting on the

                               3 sidewalk wearing blue gloves. He appears to be preparing to use illegal narcotics. In

                               4 his right hand, there is a small piece of reflective metal. Based on my experience, I

                               5 believe that he is using illegal narcotics. This photo was taken on the east sidewalk of

                               6 Shannon Street near the intersection of Shannon Street and Geary Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 60

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             65
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 68 of 74




                               1               bb.   The photograph below, labeled Photograph 61, was taken on June

                               2 22, 2023, at approximately 2:45 p.m. This photo shows an individual sitting down

                               3 and holding something in his right hand that appears to be drug paraphernalia.

                               4 Based on my experience, I believe this person is using illegal narcotics. This photo

                               5 was taken on the south sidewalk of O’Farrell Street near the intersection of O’Farrell

                               6 Street and Taylor Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                           Photograph 61

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             66
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 69 of 74




                               1               cc.   The photograph below, labeled Photograph 62, was taken on June

                               2 24, 2023, at approximately 7:33 a.m. This photo shows multiple individuals. The

                               3 three on the very right-hand side of the photo appear to be engaged in the illegal sale

                               4 and/or use of narcotics. The person with the gray hooded sweatshirt appears bent

                               5 over, and they seem to be holding drug paraphernalia. This photo was taken on the

                               6 northeast corner of Leavenworth Street and Turk Street in front of a business called

                               7 Maryland Market.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                       Photograph 62
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                            67
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 70 of 74




                               1               dd.   The photograph below, labeled Photograph 63, was taken on June

                               2 24, 2023, at approximately 7:36 a.m. This photo shows two individuals standing on

                               3 the sidewalk in front of a gray and blue tent. The individual on the left smokes from

                               4 a blue and green apparatus while the other watches. Based on my experience, I

                               5 believe these individuals are engaged in using illegal narcotics. This photo was taken

                               6 on the northeast corner of the intersection of Leavenworth Street and Ellis Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                       Photograph 63
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                            68
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 71 of 74




                               1               ee.   The photograph below, labeled Photograph 64, was taken on June

                               2 24, 2023, at approximately 7:45 a.m. This photo shows an individual in a green

                               3 trench coat hunched over a wheelchair. This individual is clutching something in

                               4 their right hand, which appears to be a lighter. Based on my experience, I believe

                               5 this person is under the influence of illegal narcotics. This photo was taken on the

                               6 north sidewalk of Eddy Street between Van Ness Avenue and Polk Street.

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27                                            Photograph 64

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             69
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 72 of 74




                               1               ff.   The photograph below, labeled Photograph 65, was taken on June

                               2 24, 2023, at approximately 7:53 a.m. This photo shows two individuals sitting on

                               3 cardboard on the sidewalk. One appears to be smoking a cigarette while the other is

                               4 using a tool in his right hand on something in his left hand. Under the individual on

                               5 the right, there appears to be a lighter. Based on my experience, I believe these

                               6 individuals are engaged in actively using illegal narcotics. This photo was taken on

                               7 the north sidewalk of Myrtle Street between Polk Street and Larkin Street.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26                                           Photograph 65

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            70
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
                                   Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 73 of 74




                               1               gg.    The photograph below, labeled Photograph 66, was taken on June

                               2 24, 2023, at approximately 7:54 a.m. This photo shows an individual sitting on the

                               3 curb of a sidewalk with a lighter in his right hand. He also appears to have

                               4 something in his mouth that could be drug paraphernalia. Based on my experience, I

                               5 believe this individual is actively using illegal narcotics. This photo was taken on the

                               6 southeast corner of the intersection of Geary Street and Larkin Street. This photo

                               7 was taken half a block from a children’s park.

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26
                          27
                                                                        Photograph 66
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
 & SCHOENBERGER
                                                                             71
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                            LILLY DEC. ISO MN RE STIP INJUNCTION- CASE NO. 4:20-cv-03033-JST
Case 4:20-cv-03033-JST Document 118-1 Filed 10/06/23 Page 74 of 74
